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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
       Plaintiff,                            )
                                             )       No. 5:21-CR-50014
            v.                               )
                                             )
JOSHUA JAMES DUGGAR,                         )
                                             )
       Defendant.                            )

          DEFENDANT’S MOTION TO CONTINUE SENTENCING HEARING

       Defendant Joshua James Duggar (“Duggar”), by and through undersigned counsel,

respectfully requests that this Court continue the sentencing hearing in this case by approximately

30 days. Specifically, the defense would benefit from a brief continuance to provide additional

time to pursue additional information and documentation related to a possible 18 U.S.C. § 3553(a)

consideration. Additionally, because of certain reasonable COVID-19 precautions understandably

instituted at the jail at which Duggar is being detained, it has been more difficult scheduling

meetings with Duggar than during more ordinary times. Finally, while defense counsel can and

would be available for the current sentencing date, certain scheduling issues arising out of

unrelated cases would be more easily resolved if this Court were to grant the requested

continuance.

       As it stands, Duggar’s sentencing hearing is scheduled for April 5, 2022. (Doc. 136). Any

sentencing memorandum must be filed 14 days in advance of that date and any motion for

downward departure must be filed at least 4 days prior to the hearing. (Doc. 137). Furthermore, at

least 3 days prior to sentencing, the parties must notify this Court of any substantive Presentence

Investigation Report (“PSR”) objections that remain outstanding which will require the Court’s
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resolution. (Id.)

        Pending before this Court is Duggar’s motion for judgment of acquittal or, in the

alternative, motion for new trial (see Docs. 131; 134; 142) and the parties’ respective objections

to the initial disclosure PSR (see Docs. 135; 143; 144).

        Duggar seeks this brief continuance of the sentencing hearing and related deadlines

tethered to the date of sentencing, to allow him sufficient time to obtain certain additional

information and documentation relevant to advancing a particular Section 3553(a) factor for this

Court’s consideration in fashioning the appropriate sentence in this case. Furthermore, because of

certain COVID-19 precautions understandably put into place by the facility in which Duggar is

detained, the defense has, at times, faced some delay in scheduling certain attorney-client

privileged meetings by videoconference with Duggar. As such, the defense would benefit from

additional time to meet and confer with Duggar in advance of sentencing. Finally, while defense

counsel can and would be available for the hearing as currently scheduled, certain scheduling

issues arising out of unrelated cases would be more easily resolved if this Court were to grant the

requested continuance.

        This request for a brief continuance of the sentencing hearing is not intended to

unnecessarily delay or hinder the proceedings but is, instead, made solely so as to allow Duggar

sufficient time to acquire all relevant information which will be necessary for fully briefing his

Section 3553(a) arguments, to confer with his counsel, and to alleviate certain scheduling issues

arising out of unrelated cases.

        Undersigned counsel has conferred with counsel for the United States who has represented

that the United States defers to this Court on this motion.

        Based on the foregoing, Duggar respectfully requests that this Court enter an Order



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continuing the sentencing hearing, and all related deadlines, by approximately 30 days, to a date

and time that is convenient for this Court and the parties.



                                              Respectfully Submitted,

                                              Margulis Gelfand, LLC

                                                /s/ Ian T. Murphy
                                              JUSTIN K. GELFAND, MO Bar No. 62265*
                                              IAN T. MURPHY, MO Bar No. 68289*
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                                      Certificate of Service

         I hereby certify that the foregoing was filed electronically with the Clerk of the Court. I

further certify that a copy of the foregoing was served upon counsel for the United States via

email.


                                                /s/ Ian T. Murphy
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